                                   Case 23-14458-RAM
 Fill in this information to identify the case:
                                                                   Doc       Filed 11/20/23          Page 1 of 4
B 10 (Supplement 2) (12/11)    (post publication draft)
 Debtor 1              GUILLERMO  VALDES, JR.
                       __________________________________________________________________


 Debtor 2
                         JESSICA VALDES
                        ________________________________________________________________
 (Spouse, if filing)

                                 SOUTHERN                                    FL
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                             (State)
              23-14458-BKC-RAM
 Case number ___________________________________________




Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                           12/16

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy
filing that you assert are recoverable against the debtor or against the debtor's principal residence.
File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.



                   MIAMI LAKES LAKE MARTHA
 Name of creditor: _______________________________________                                                                 17
                                                                                           Court claim no. (if known): __________________
                               HOMEOWNERS ASSOCIATION, NO 2, INC.
 Last 4 digits of any number you use to
 identify the debtor’s account:
                                                              9 ____
                                                          6 ____
                                                         ____     2 ____
                                                                      2

 Does this notice supplement a prior notice of postpetition fees,
 expenses, and charges?
 X No
 
  Yes. Date of the last notice: ____/____/_____

 Part 1:         Itemize Postpetition Fees, Expenses, and Charges

 Itemize the fees, expenses, and charges incurred on the debtor’s mortgage account after the petition was filed. Do not include any
 escrow account disbursements or any amounts previously itemized in a notice filed in this case. If the court has previously
 approved an amount, indicate that approval in parentheses after the date the amount was incurred.

      Description                                                        Dates incurred                                     Amount

  1. Late charges                                                        _________________________________            (1)   $ __________
  2. Non-sufficient funds (NSF) fees                                     _________________________________            (2)   $ __________
  3. Attorney fees                                                        Bill dated 11/20/23
                                                                         _________________________________            (3)      525.00
                                                                                                                            $ __________
  4. Filing fees and court costs                                         _________________________________            (4)   $ __________
  5. Bankruptcy/Proof of claim fees                                      _________________________________            (5)   $ __________
  6. Appraisal/Broker’s price opinion fees                               _________________________________            (6)   $ __________
  7. Property inspection fees                                            _________________________________            (7)   $ __________
  8. Tax advances (non-escrow)                                           _________________________________            (8)   $ __________
  9. Insurance advances (non-escrow)                                     _________________________________            (9)   $ __________
 10. Property preservation expenses. Specify:_______________             _________________________________           (10)   $ __________
 11. Other. Specify:____________________________________                 _________________________________           (11)   $ __________
 12. Other. Specify:____________________________________                 _________________________________           (12)   $ __________
 13. Other. Specify:____________________________________                 _________________________________           (13)   $ __________
 14. Other. Specify:____________________________________                 _________________________________           (14)   $ __________


 The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
 See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.


Official Form 410S2                             Notice of Postpetition Mortgage Fees, Expenses, and Charges                          page 1
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Debtor 1     GUILLERMO VALDES, JR.
             _______________________________________________________                                            23-14458-BKC-RAM
                                                                                           Case number (if known) _____________________________________
             First Name       Middle Name               Last Name




 Part 2:    Sign Here


  The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
  telephone number.
  Check the appropriate box.

   I am the creditor.
  
  X I am the creditor’s authorized agent.

  I declare under penalty of perjury that the information provided in this claim is true and correct to the best
  of my knowledge, information, and reasonable belief.



            __________________________________________________
              /s/ Stuart M. Gold
                 Signature
                                                                                           Date    11 20 2023
                                                                                                   ____/_____/________




 Print:          STUART M. GOLD, ESQ.
                 _________________________________________________________                 Title    ATTORNEY
                                                                                                   ___________________________
                 First Name                      Middle Name        Last Name



 Company          SAX, WILLINGER & GOLD
                 _________________________________________________________



 Address          1931 NW 150 AVENUE, STE 267
                 _________________________________________________________
                 Number                 Street
                  PEMBROKE PINES
                 ___________________________________________________
                                                                    FL 33028
                 City                                               State       ZIP Code




 Contact phone   (______)      1040
                          591 _________
                   305 _____–                                                                      sgold@swglawyers.com
                                                                                           Email ________________________




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                                SAX, WILLINGER & GOLD
                                  ATTORNEYS AT LAW
                              1931 NW 150th Avenue, Suite 267
                                 Pembroke Pines, FL 33028
                                     (305) 591-1040


November 20, 2023


Miami Lakes Lake Martha Homeowner’s Association No. 2 Inc.
c/o Brough, Chadrow & Levine, P.A.
Weston Professional Centre
2149 North Commerce Parkway
Weston, Florida 33326


Beginning Balance of Current Billing:                                         $   0.00


FOR PROFESSIONAL SERVICES RENDERED:

RE:    GUILLERMO VALDEZ 23-14458-RAM

11/14/23      1.0    SMG Prepare for and Attend Hearing on Debtor’s
                         Objection to Notice of Post Petition Mortgage
                         Fees, Expenses and Charges; Prepare Order
                         Overruling Objection                                 $ 250.00
10/12/23      1.1    SMG Review Debtor's Objection to Notice of
                         Postpetition Mortgage Fees, Expenses and
                         Charges. Review E-mails from J. Blanco Esq.
                         and M. Chadrow Esq.; Prepare Response to
                         Objection                                            $ 275.00



TOTAL BALANCE DUE:                                                            $ 525.00
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                 CERTIFICATE OF SERVICE RE: RULE 3002 MATTER

       I HEREBY CERTIFY that a copy of the foregoing Notice of Postpetition Mortgage Fees,

Expenses and Charges (Court Claim No. 17), filed by Creditor Miami Lakes Lake Martha

Homeowners Association, No 2, Inc. was furnished by First Class mail on 20th day of

November, 2023 to: GUILLERMO VALDES, JR. and JESSICA LYN VALDES, 6922 Holly

Road, Hialeah, FL 33014 and served on all parties registered to receive notice by electronic

transmission on the 20th day of November, 2023.


                                             SAX, WILLINGER & GOLD
                                             Attorney for Creditor
                                             1931 NW 150 Avenue
                                             Suite 267
                                             Pembroke Pines, FL 33028
                                             (305) 591-1040
                                             E-Mail: sgold@swglawyers.com

                                               /s/ Stuart M. Gold
                                             STUART M. GOLD, ESQ.
                                             FL Bar No.: 265421
